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COLE SCHOTZ P.C.
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(212) 752-8000
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Counsel for the Paulette Cole

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



In re:                                                             Chapter 11
Amma421, LLC,1                                                     Case No. 21-11333 (DSJ)

                           Debtor.


               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
                 PAPERS BY MICHAEL D. SIROTA, ESQ. ON BEHALF OF
                                PAULETTE COLE

                  PLEASE TAKE NOTICE that the Paulette Cole ( “Ms. Cole”), hereby appears

in the above-captioned cases through its counsel Cole Schotz P.C. pursuant to Rules 2002 and

9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and section

1109(b) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”),

and requests that all notices given or required to be given and all papers served in this case be

delivered to and served upon the counsel identified below at the following address:




1
         The Debtor in these Chapter 11 case(s), along with the last four digits of Debtor's federal tax identification
         number is (5572). The location of the Debtor’s corporate headquarters is 888 Broadway, New York, NY
         10003.




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                            COLE SCHOTZ P.C.
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                            New York, NY 10019
                            Telephone: (212) 752-8000
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                            msirota@coleschotz.com


                  PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, motion, petition, pleading, requests, suggestions, complaint with demand,

whether formal or informal, whether written or oral and whether transmitted or conveyed by

mail, delivery, telephone, telegraph, telex or otherwise which may affect or seek to affect in any

way the rights and interests of the creditors with respect to the Debtor’s or property or proceeds

thereof in which the Debtor’s or Creditor may claim an interest, including any adversary

proceedings filed in this matter.


                                [remainder of page left intentionally blank]




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                  PLEASE TAKE FURTHER NOTICE that this Notice of Appearance, and any

subsequent appearance, pleading, claim, or suit, is not intended, nor shall be deemed, to waive

Ms. Cole’s: (i) right to have final orders in non-core matters entered only after de novo review by

a United States District Court Judge; (ii) right to trial by jury in any proceeding so triable herein

or in any case, controversy or proceeding related hereto; (iii) right to have the reference

withdrawn by the United States District Court Judge in any matter subject to mandatory or

discretionary withdrawal; or (iv) other rights, claims, actions, defenses, setoffs or recoupments to

which Ms. Cole is or may be entitled under agreements, in law, or in equity, all of which rights,

claims, actions, defenses, setoffs, and recoupments expressly are hereby reserved.

Dated: July 22, 2021
                                                        COLE SCHOTZ P.C.

                                                  By:     /s/ Michael D. Sirota
                                                        Michael D. Sirota
                                                        1325 Avenue of the Americas, 19th Floor
                                                        New York, NY 10019
                                                        Telephone: (212) 752-8000
                                                        Facsimile: (212) 752-8393
                                                        msirota@coleschotz.com

                                                        Counsel for Paulette Cole




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                                   CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on this 22nd day of July, 2021, a copy of the foregoing

Notice of Appearance and Request for Service of Papers was sent electronically to all parties

who have requested electronic filings via the Bankruptcy Court’s CM/ECF system, including the

following parties:

                  Tracy L. Klestadt, Esq.
                  Klestadt Winters Jureller Southard
                  & Stevens, LLP
                  200 West 41st Street, 17th Floor
                  New York, NY 10036
                  tklestadt@klestadt.com
                  Counsel to Debtor

                  Office of the United States Trustee
                  U.S. Federal Office Building
                  201 Varick Street, Room 1006
                  New York, NY 10014
                  USTPRegion02.NYECF@USDOJ.GOV


Dated: July 22, 2021                                     /s/ Michael D. Sirota
                                                        Michael D. Sirota




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